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               5    Attorneys for Defendant/Cross-
                    Defendant MCINTOSH &
               6    ASSOCIATES ENGINEERING, INC.
               7
               8                          UNITED STATES DISTRICT COURT
               9                        EASTERN DISTRICT OF CALIFORNIA
             10
             11     Adavco, Inc., a California corporation CASE NO. 1:23-cv-00695-JLT-SKO
             12                  Plaintiff,                   Assigned to:
                                                              Hon. Jennifer L. Thurston (presiding)
             13            v.                                 Hon. Sheila K. Oberto (referral)
             14     Deertrail Development LLC, a              ANSWER BY MCINTOSH &
                    California limited liability company,     ASSOCIATES ENGINEERING, INC.
             15     New Gen Engineering Group, Inc., a        TO NEW GEN ENGINEERING
                    California corporation, McIntosh &        GROUP, INC.’S CROSS-COMPLAINT
             16     Associates Engineering, Inc., a
                    California corporation, Does 1-10.
             17
                                 Defendants.
             18
             19            Pursuant to Rule 8 of the Federal Rules of Civil Procedure, Defendant and
             20     Cross-defendant McIntosh, INC. (hereinafter "McIntosh") files this Original
             21     Answer to the Cross-Complaint of NEW GEN ENGINEERING GROUP, INC.
             22     (hereinafter "New Gen"), as follows:
             23     I.     ANSWER
             24            1.    Answering Paragraph 46: McIntosh denies each and every
             25     allegation contained therein generally and specifically, and each and every part
             26     thereof, related to McIntosh. As to the remaining allegations, including
             27     allegations as to other defendants, McIntosh alleges that it does not have
             28      sufficient information or belief on the subject to enable it to answer any of the
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                    ANSWER BY MCINTOSH & ASSOCIATES ENGINEERING, INC. TO NEW GEN ENGINEERING GROUP,
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               1    allegations in those paragraphs and, basing its denial on that ground, denies each
               2    and every allegation contained therein generally and specifically in each and
               3    every part thereof.
               4           2.    Answering Paragraph 47: McIntosh denies each and every
               5    allegation contained therein generally and specifically, and each and every part
               6    thereof, related to McIntosh. As to the remaining allegations, including
               7    allegations as to other defendants, McIntosh alleges that it does not have
               8    sufficient information or belief on the subject to enable it to answer any of the
               9    allegations in those paragraphs and, basing its denial on that ground, denies each
             10     and every allegation contained therein generally and specifically in each and
             11     every part thereof. Without waiver of the preceding general denial, this
             12     answering defendant admits that that this court has subject matter jurisdiction
             13     over the copyright claims in this action.
             14            3.    Answering Paragraph 48: McIntosh denies each and every
             15     allegation contained therein generally and specifically, and each and every part
             16     thereof, related to McIntosh. As to the remaining allegations, including
             17     allegations as to other defendants, McIntosh alleges that it does not have
             18     sufficient information or belief on the subject to enable it to answer any of the
             19     allegations in those paragraphs and, basing its denial on that ground, denies each
             20     and every allegation contained therein generally and specifically in each and
             21     every part thereof. Without waiver of the preceding general denial, this
             22     answering defendant admits that that this court has personal jurisdiction over this
             23     answering defendant and that this defendant does business in California.
             24            4.    Answering Paragraph 49: McIntosh denies each and every
             25     allegation contained therein generally and specifically, and each and every part
             26     thereof, related to McIntosh. As to the remaining allegations, including
             27     allegations as to other defendants, McIntosh alleges that it does not have
             28      sufficient information or belief on the subject to enable it to answer any of the
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               1    allegations in those paragraphs and, basing its denial on that ground, denies each
               2    and every allegation contained therein generally and specifically in each and
               3    every part thereof. Without waiver of the preceding general denial, this
               4    answering defendant admits that that venue is proper over this action and that
               5    this defendant does business in Bakersfield, California within the Eastern
               6    District.
               7           5.    Answering Paragraph 50: McIntosh denies each and every
               8    allegation contained therein generally and specifically, and each and every part
               9    thereof, related to McIntosh. As to the remaining allegations, including
             10     allegations as to other defendants, McIntosh alleges that it does not have
             11     sufficient information or belief on the subject to enable it to answer any of the
             12     allegations in those paragraphs and, basing its denial on that ground, denies each
             13     and every allegation contained therein generally and specifically in each and
             14     every part thereof.
             15            6.    Answering Paragraph 51: McIntosh denies each and every
             16     allegation contained therein generally and specifically, and each and every part
             17     thereof, related to McIntosh. As to the remaining allegations, including
             18     allegations as to other defendants, McIntosh alleges that it does not have
             19     sufficient information or belief on the subject to enable it to answer any of the
             20     allegations in those paragraphs and, basing its denial on that ground, denies each
             21     and every allegation contained therein generally and specifically in each and
             22     every part thereof.
             23     II.    AFFIRMATIVE DEFENSES
             24            7.    FIRST AFFIRMATIVE DEFENSE (Fair Use). McIntosh asserts the
             25     affirmative defense of Fair Use pursuant to Section 107 of the Copyright Act.
             26            8.    SECOND AFFIRMATIVE DEFENSE (Indemnification). McIntosh
             27     asserts the affirmative defense of indemnification. McIntosh alleges that any
             28      damages or liability claimed by the plaintiff were caused by the actions or
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               1    omissions of a third party, for which McIntosh is entitled to be indemnified by
               2    said third party. McIntosh further asserts that any recovery the plaintiff should by
               3    sought from the third party responsible for the alleged damages or liability.
               4           9.    THIRD AFFIRMATIVE DEFENSE (Contribution). McIntosh
               5    asserts the affirmative defense of contribution. McIntosh demands that if it is
               6    found liable for any damages or liability claimed by the plaintiff, such liability
               7    should be apportioned among other responsible parties who may be jointly liable.
               8    McIntosh seeks contribution from these other responsible parties to share in the
               9    payment of any damages or liability imposed by the court.
             10            10.   FOURTH AFFIRMATIVE DEFENSE (Principal-Agent
             11     Relationship). McIntosh asserts the affirmative defense of Principal-Agent
             12     Relationship. McIntosh alleges that at all times of the incident giving rise to the
             13     plaintiffs claims, McIntosh, was acting as an agent on behalf of a disclosed
             14     principal, Defendant Deertrail Development, LLC. McIntosh further contends
             15     that all actions taken were done so under the lawful instruction and authority of
             16     the controlling party in the principal-agent relationship, Defendant Deertrail
             17     Development, LLC.
             18            11.   FIFTH AFFIRMATIVE DEFENSE (Lack of Originality). McIntosh
             19     asserts the affirmative defense of Lack of Originality. McIntosh alleges that the
             20     allegedly infringed work lacks the requisite originality for copyright protection.
             21            12.   SIXTH AFFIRMATIVE DEFENSE (Copyright Misuse). McIntosh
             22     asserts the affirmative defense of Copyright Misuse. McIntosh alleges that
             23     plaintiff has engaged in copyright misuse to stifle competition or exert control
             24     beyond the scope of copyright law.
             25            13.   SEVENTH AFFIRMATIVE DEFENSE (Innocent Infringer
             26     Defense). McIntosh asserts the affirmative defense of Innocent Infringement
             27     under Section 504. McIntosh alleges that if infringement did occur, McIntosh
             28      was only not aware that its use of the work infringed the plaintiffs copyright, but
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               1    also that it had no reason to believe that its acts constituted infringement.
               2              14.   EIGHTH AFFIRMATIVE DEFENSE (Estoppel). McIntosh asserts
               3    the affirmative defense of Estoppel. McIntosh alleges that the plaintiff is barred
               4    from asserting copyright infringement due to their prior conduct or
               5    representations.
               6              15.   NINTH AFFIRMATIVE DEFENSE (Unclean Hands). McIntosh
               7    asserts the affirmative defense of Unclean Hands. McIntosh alleges that the
               8    plaintiff engaged in improper conduct, such as copyright infringement
               9    themselves, which disqualifies them from seeking relief.
             10               16.   TENTH AFFIRMATIVE DEFENSE (First Amendment). McIntosh
             11     asserts the affirmative defense of First Amendment protection. McIntosh alleges
             12     that its actions are protected by the First Amendment's guarantee of freedom of
             13     speech and right to freedom of expression.
             14     III.      DEMAND FOR JURY TRIAL
             15               17.   Pursuant to Federal Rule of Civil Procedure 38 and Civil Local Rule
             16     201, McIntosh demands a jury trial on all issues present in the First Amended
             17     Complaint that are triable by a jury.
             18
             19
             20     Dated: February 6, 2024                   MURTAUGH TREGLIA STERN & DEILY LLP

             21
             22                                             By:
                                                                  David A. Ericksen
             23                                                   Attorneys for Defendant/Cross-
                                                                  Defendant MCINTOSH &
             24                                                   ASSOCIATES ENGINEERING,
                                                                  INC.
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